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                     UNITED STATES DISTRICT COURT
                                                  for the
                                       District of Colorado

                                                         Case No. 18-CV-01761-MSK-NYW
                  Tiffany Grays, pro se

                       Plaintiff(s)


                          -V-


       Auto Mart USA, LLC; Jorge Pacheco;
   Auto Mart USA2; Daniel Ramirez, JB Ovalle;
   Donnie McElroy; Marco Sandoval; Auto Mart;
                   Jay Barber

                      Defendant(s)


      PLAINTIFF’S MOTION TO COMPEL DEFENDANTS’
       COMPLIANCE WITH FED. R. CIV. P. 26(a)(1)(A)(iv)
          Plaintiff, Tiffany Grays, pro se, respectfully requests this Court compel Defendants into

   compliance with the Rules of this Court.

          Plaintiff attempted to confer with counsel for Defendants multiple times regarding this

   matter. Each separate attempt received no response or acknowledgement from counsel for

   Defendants. Plaintiff believes Defendants’ silence is approval of this motion.

          Plaintiff has been forced to seek judicial assistance in multiple filings in this case,

   including but not limited to, Plaintiff’s motion to compel Defendants’ compliance within

   Discovery (ECF No. 104); which remains undecided. While decision remains outstanding,

   Defendants continue prolonging Plaintiff’s suffering through intentional withholding of

   evidence.



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            Defendants filed initial disclosures on April 30, 2019. Defendants’ file supplemental

   disclosures on October 08, 2019 and second supplemental disclosures on October 18, 2019.

            Neither of the Defendants’ three disclosures included a statement or documents

   pertaining to any insurance policies Defendants possess or should possess.

            Pursuant to C.R.S. §§ 12-6-111 and 12-6-112, Defendants are required to have surety

   bonds.

            Pursuant to Fed. R. Civ. P. 26(a)(1)(A)(iv), Defendants are to disclose are “… any

   insurance agreement under which an insurance business may be liable to satisfy all or part of a

   possible judgment in the action…” Id. Rule 26.

            WHEREFORE Plaintiff is entitled to the bond information concerning all Defendants

   named in this action. Plaintiff respectfully requests the Court Order Defendants to produce all

   documents concerning insurance and bonds for all Defendants in this matter, and award

   reasonable costs and fees to the Plaintiff in preparing and filing this motion.



   DATED: January 01, 2020


                                          Respectfully Submitted,


                                                                               /s/ Tiffany Grays, pro se


                                                                                         Tiffany Grays
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                     UNITED STATES DISTRICT COURT
                                                 for the
                                      District of Colorado

   Grays, Tiffany, pro se                                       18-CV-01761-MSK-NYW
           v
     Auto Mart, et al



                            CERTIFICATE OF SERVICE

   In accordance with Federal and Local Rules, I hereby certify that on the 1 st day of January 2020,
   I have filed the foregoing with the Clerk using the CM/ECF system, which will send a true copy
   thereof to the following recipients, via the CM/ECF system.


   DOCUMENT: PLAINTIFF’S MOTION TO COMPEL DEFENDANTS’ COMPLIANCE
   WITH FED. R. CIV. P. 26(a)(1)(A)(iv)




          Auto Mart et al.
          C/O Michael McKinnon
          mgmckinnon@msn.com
          P: 303-438-4000
                                                                             /s/ Tiffany Grays, pro se


                                                                                Tiffany Grays, pro se
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